
666 S.E.2d 485 (2008)
Alfred T. PICKETT, Marvin E. Baugh, Park R. Davidson, and David G. Baugh
v.
Ralph L. ROBERSON.
No. 521P07.
Supreme Court of North Carolina.
August 26, 2008.
Jennifer Harrod, Randall A. Underwood, Alan E. Ferguson, Greensboro, for Roberson.
James G. Exum, Jr., Bruce P. Ashley, Patti Ramseur, Greensboro, for Pickett, et al.

ORDER
Upon consideration of the petition filed on the 23rd day of October 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
